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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA


MAGGIE SMITH, et al.,

       Plaintiffs,

       v.                                        Civil Action No. 15-737 (RCL)

DISTRICT OF COLUMBIA,

       Defendant.


                                      ORDER

      Upon consideration of the Parties’ Joint Local Rule 16.3 Report, and the entire

record, it is ORDERED that the Parties adhere to the following schedule:

       Event                                               Deadline


 Initial Disclosures                                 Thirty days from entry of the

                                                     Scheduling Order


 Fact discovery on liability and class issues Six months from entry of the

 completed                                           Scheduling Order


 Plaintiffs’ motion for summary judgment on One month after the

 liability due                                       completion of discovery


 Defendant’s Opposition and cross-motion on Two months after the

 liability due                                       completion of discovery



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Plaintiffs’ Reply and Opposition due               Three months after the

                                                   completion of discovery


Defendants’ Reply due                              Two weeks after service of

                                                   Plaintiffs’ Reply and

                                                   Opposition



      SO ORDERED.

Dated: _______________                 _________________________________________
                                       THE HONORABLE ROYCE C. LAMBERTH
                                       Judge, United States District Court
                                              for the District of Columbia




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